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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:22-CR-00228-JAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   RICKY PHIENEMANH,                                   DATE: January 10, 2023
                                                         TIME: 9:00 a.m.
15                                Defendant.             COURT: Hon. John A. Mendez
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on January 10, 2023.

21          2.      By this stipulation, defendant now moves to continue the status conference until April 11,

22 2023, at 9:00 a.m., and to exclude time between January 10, 2023, and April 11, 2023, under Local Code

23 T4.

24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The government has represented that the discovery associated with this case

26          includes investigative reports and related documents in electronic form including approximately

27          400 pages of documents, photographs, video and audio files, and drug lab analyses. All of this

28          discovery has been either produced directly to counsel and/or made available for inspection and


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 1         copying.

 2                b)      On January 4, 2023, defendant Ricky Phienemanh filed a motion and proposed

 3         order for substitution of attorney. On January 5, 2023, the Court granted that motion.

 4                c)      Accordingly, counsel for defendant requires additional time to review the

 5         discovery, consult with the defendant, review the current charges, conduct investigation and

 6         research related to the charges, to discuss potential resolutions with the defendant, and to

 7         otherwise prepare for trial.

 8                d)      Counsel for defendant believes that failure to grant the above-requested

 9         continuance would deny him the reasonable time necessary for effective preparation, taking into

10         account the exercise of due diligence.

11                e)      The government does not object to the continuance.

12                f)      Based on the above-stated findings, the ends of justice served by continuing the

13         case as requested outweigh the interest of the public and the defendant in a trial within the

14         original date prescribed by the Speedy Trial Act.

15                g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

16         et seq., within which trial must commence, the time period of January 10, 2023 to April 11,

17         2023, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

18         T4] because it results from a continuance granted by the Court at defendant’s request on the basis

19         of the Court’s finding that the ends of justice served by taking such action outweigh the best

20         interest of the public and the defendant in a speedy trial.

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      STIPULATION REGARDING EXCLUDABLE TIME              2
      PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5

 6
     Dated: January 4, 2023                                   PHILLIP A. TALBERT
 7                                                            United States Attorney
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                                                              /s/ ALSTYN BENNETT
 9                                                            ALSTYN BENNETT
                                                              Assistant United States Attorney
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11
     Dated: January 4, 2023                                   /s/ MICHAEL R. BARRETTE
12                                                            MICHAEL R. BARRETTE
13                                                            Counsel for Defendant
                                                              RICKY PHIENEMANH
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15

16
                                                      ORDER
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            IT IS SO FOUND AND ORDERED this 5th day of January, 2023.
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19                                                            /s/ John A. Mendez
                                                              THE HONORABLE JOHN A. MENDEZ
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                                                              SENIOR UNITED STATES DISTRICT JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME               3
      PERIODS UNDER SPEEDY TRIAL ACT
